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Gy United States Federal Eastern District Court
Of Pennsylvania
600 Market Street
Philadelphia Pennsylvania 19106-1790 2 6) 95 g

Present by: Awoota Jurist Consul & Associates, (A Tribal Organization)

Lord teginald Yahweh, Private Banker En Equity Proceeding
In Proptia Persona, Judicature/Adjudicator

On behalf of Estate Pa. Registrar 162889-1950

Judicature/ Adjudicator
-v- 18 U.S.C, 2381-2382 Treason
MICHAEL D. BERMAN d/b/a 18 U.S.C. 1091 Human Trafficking
M & T BANK 18 U.S.C, Chapter 41 Extortion
475 Crosspoint Parkway 18 U.S.C. Criminal Conspiracy
Getzville, New York 14068 26 U.S.C. Tax Evasion
18 U.S.C. 1956
DANIELLE JOHNSON 28 U.S.C. Defamation of Character
EXPRESS REALTY LLC. Violation Rights
801 KEY HWY UNIT 831 11 U.S.C, 548 Fraudulent Transfer/Conveyance

BALTIMORE MARYLAND 21230

DELLA THOMPSON REALTOR d/b/a
DIVERSIFIED REALTY SOLUTIONS
3224 WEST CHELTENHAM AVENUE
PHILADELPHIA, PA. 19150 Jury Trial Demanded
Article TT Court Proper Jurisdiction
MICHAEL T. MC. KEEVER C.E.O.
KML LAW GROUP, P.C,
Suite 5000 Independence Center
701 Market Street
Philadelphia Pa. 19106-1532

OFFICE OF THE SHERIFF

SEAN P. KILKENNY

Court House First Floor

P.O. Box 311

Norristown Pa, 19404

Defendant(s) /jurcidic inferior persons/(s) Debtor(s)

 

Complaint

 
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Pursuant to: Article TV Section 1
Comes now the Plaintiff/ Affiant, Lord reginald, for his verified Complaint for rights

violations against the Defendant(s), and states the following;

Jurisdiction and Venue
The Plaintiff/Affiant claims federal jurisdiction pursuant to Article HI, § 2, of the United
States Constitution, which extends federal jurisdiction to cases atising under the United States
Constitution /United states Congress, the Plaintiff/A ffiant brings this suit pursuant to ‘Title 42
US.C.§ 1983, for violations of certain protections guatanteed to him by the Fourteenth
Amendment to the United States Constitution and Article VI of said Constitution treaty being
supreme law of the land, these violations were committed by the Defendant(s) in a
conspiratoty practice under color of law in their capacity as agents of said Franchises, type of
action via 28 U.S.C.§§ 1331 and 1343. Venue is appropriate in this judicial district under 28
US.C.§ 1391 (b), because Defendant(s) resides here, within a 100-mile radius and the events
giving rise to this Complaint occurred here Full Faith and Credit OUGHT to be given and
Article 1 Section 10 Clause 1 Obligation to Contract and;
Introduction:
These DEFENDANT(S) have failed to perform their sworn duties, and responsibilities and
their responsibility to uphold the constitution WE THE PEOPLE), as a ttibal leader who
has been in, and lived through four wats, and teach I have reached this Plateau of life to
experience RED LINING at its highest point, and incompetence in the real state industry,

and yes racism.

 
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Brief Explanation
Human Trafficking

The continued-on slot of displacement, disrespect, and the degradation of some realtor’s that
thing they are GOD’S over that (LANDS PROPERTY) which belong to the Aborigine people
of this land, (American Indian-Egyptians-Heritage) descendants of the ancient one’s that have
lived, and still do on this land and, as we invoke the 42 Laws of Ma’at and,
Restraint of T'rade

Whereas, the Realtor fail to prepare an addendum referencing the expenditures of the
additional $500,000.00 which was for a large heater and water treatment system, painting
windows floors, repaired, landscaping and closing cost, and other minor cost, this in the manor
of creating jobs and awarding contracts, being that we stay in honor and in being transparent
hereby have inform the IRS and treasury of this transaction and the future intentions of the
property and the possible tax issues and; see exhibit E

Criminal Conspiracy & Fraud
The Criminal Conspiracy beings with the Realtor and then the Bank (which can not own real
property (Statute at Large) in the current record at Montgomery County Pa. recorders office
shows the Sale Price of $2, 517.00 dollars for the property Tax 0 or any tax 0, Grantor Didio
James & Green Maria, Grantee M &'T Bank, the assessed Value of $2,434,500.00, the
computed Value 4,942.035.00 but put a price on the property of $2,500,000.00 with repairs

needed and;
as of February 13" 2020, after the alleged seller has put the property back on the market,

present I with a new Contract by now Realtor Della Thompson, and the seller want I to

 
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autograph a new contract with a new addtess, addressing the same issues in which I, have said
is unexpectable, therefore at this I, refuse to sign at this time, being that the fraud which is
being presented to the Court now withstanding and; evidence is in my email.

Federal Case Law on Fraudulent Deeds/Mortgages
Plaintiff filed a complaint against Bank of America and related entities seeking to set aside and
cancel, as null and void, the Bank’s mortgage interest in real property conveyed on the
authority of an allegedly forged deed. The Bank moved to dismiss the complaint under N.Y.
C.P.L.R. 3211(a)(5) as untimely under N.Y. C.P.L.R. 213(8). Supreme Coutt dismissed the
complaint in its entirety as time-barred. The Appellate Division affirmed as to the Bank,
concluding that PlaintifPs forgery-based claim against the Bank was subject to the six-year
statute of limitations for fraud claims set forth in N.Y. C.P.L.R. 213(8). The Court of Appeals
reversed, holding that the statute of limitations in section 213(8) did not foreclose Plaintiffs
claim against Defendant because, under prior case law, a forged deed is void ab initio, and as
such, any encumbrance upon real property based on a forged deed is null and void.

Other Federal Cases on Forged Unlawful Deeds

Forged Deed, not my signature, there is no notary stamp, or seal, on the DEED making the
DEED on its face unlawful, citing: Reference Case No. 14-4148, Kathrine Crawford et al. v.
Khalilah Robinson et. al. Case no. 14-4148 in the Eastern District Court of Pennsylvania By
Honorable Gerald J. Pappert |. Memorandum of Law on Quiet Title and Fraudulent Transfers,

fraudulent business ptactice, a fraudulent deed is a void deed and,

 
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Comment: On the face of this Matter, the defendant(s) knowingly and willingly developed a
fraudulent contract according to Montgomery County Recorder of Deeds Records and ‘Tax
records, making the provisions of the in its entirety Void and all proceeds, Notes, Check or
likewise return including the ‘Title for 40-00-37842-30-5 the propet Parcel # Instrument no.
2019079374 and the Instrument United States Note of $3,000,000.00 for the above mentioned
title plus interest for the fraudulent holding, under false pretense.

Even Pennsylvania Law States: See, also e.g., Warehouse Builders & Supply Inc. v. Perryman,
257 A.2d 349, 350 (Pa. Super. Ct. 1969) (“fA] forged deed is a void deed even in the hands of
an innocent purchaser”); Flitcraft v. Commw. ‘Title Ins. & Trust Co., 60 A. 557, 557 (Pa. 1905)
(cancelling mortgage obtained upon forged deed because “the deed was thereby avoided, and
could not thereafter be used in any way whatsoever to the prejudice of the complainant.”).
Because the deed could not pass good title if forged and;

[U]nder Pennsylvania law, a forged deed cannot convey an interest in real property.”); Harris
v. Hartis, 239 A.2d 783, 784 (Pa. 1968) (“[A] forged . . . instrument is not binding on any
person and is wholly inoperative to transfer any title or right to property whether the holder
is an innocent or guilty purchaser.”). “If Plaintiffs’ signatures on the deed were forged, then

no transfer of their interests in the Property to ... evet occurred.”

Comment: In this Matter there can’t be two Grantor’s on the same propetty and the wrong
Address on the Contract (PRAUD ON ITS FACE).
Points of Facts

Whereas, by Law Banks cannot own propetty National Currency Act (National Banking Act)

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Sections 27, 28, 53, and;

Whereas, after further review there are conflicting records, one the only address is 1500 Spring
Mill Road Gladwyne Pa. 19035 and;

Wheteas, the certified deed says Sean P. Kilkenny Sheriff of Montgomery County received a
sum of $2,717.16 dollars to him in hand and grant and convey to M & 'T Bank One Fountain
Plaza Buffalo, New York 14203 and; see exhibit A

Whereas, accotding to Montgomery County Pa public records from the Recorder of Deeds
record states that Didio James & Green Marla Grantors, Granted the Property to M & T Bank
which shows a conflict of interest in the matter and; see exhibit B

Therefore, the recorded dates are the same 05/NOV/2019 and the taxes owed are 91,167.00
And the true Computed Value 4,942.035.00 and the Date of the REV-183 Filing 09/26/2019
a month before the alleged sale and;

Whereas, there is no mention of taxes being paid and where is the proof that didio james &
Ms. Maria Green Granted the Property to M & T Bank and do/did have a Contract with,
thereby we have a Breach of Contract and it establishes, the Criminal Conspitacy & Fraud

and;
18 U.S.C. Chapter 41 Extortion

Now this becomes a matter of extortion whereby either party can explain why they need so
much information was/is there responsibility is (ALLEGED SELLER) to sign the
CONTRACT, by before that happens and to be in honor one need to not be part of any

criminality or extortion and to make sure that James Didio & Maria Green legally granted this

 
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Property to M & T BANK which is not a bank but a depository, they can not lead, only the
depositary in this matter ([HE ESTATE IS THE BANK) and Tas a Private Banker the maker
and the Issuer, by their such being a great disparity between original Sales Price and the now
Purchase Price and;
Whereby, according to Della Thompson Realtor who changed the ‘Title Company to handle
this matter to KML LAW GROUP, P.C. who after receiving full payment on Februaty 10%
2020 along with Treasury and Internal Revenue Service documents to assure taxes ate being
paid and; additional information Seller wants to present a new address?, as 02 /17/2020 said
United States Note has not been returned, acceptance by U.S. Mail
26 U.S.C, Tax Evasion
Whereby these inferior persons seem to have sound away to avoid paying taxes or escaping
the fact by claiming that the property was gifted to them and;
Therefore, according to the Buyers Estimated Closing Cost Buyers reimbursement to Seller
$40, 248.84 after studying these documents in which the realtor failed to disclose or point out
issues of concern, after going to the Montgomery County Records and see that the actual
(True) Sales price was $2,517.00, why would there be a $40,248.84 Reimbursement to the Seller
being that no taxes were ever paid and;
Constitutionality (Treason)
It is your duty to inquire into all offenses for or against the United States within the

jurisdiction to pronounce from the U.S. District Courts, which greatest crime known to the

 
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law is Treason; self-preservation being or existing in a certain state, by intelligent existence is
the highest duty of government, in order to regulate commerce mutual exchange, without it
there can be no administration of law, civil or criminal and;

This crime called Treason, is defined through the Constitution for or against the United States
of Ametica, confederation itself. It declares that ’I'reason for ot against the United States, shall
in the future consist only in Levying War to collect assessment by imposition for or against
the People, or adheting to their enemies, giving them aid and comfort, as a Safe Harbor
exemption, man has been giving Dominion by the Creator of All, with moral ability to dispose
from his ot her Intellectual Property at Will by Equity, and according to a assembly of men,
through their fourth amendment, which says: “The right of the people to be secure in theit
persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be
violated, and no Warrants shall issue, but upon probable cause, supported by Oath or
affirmation, and particularly describing the place to be searched, and the persons or things to
be seized.”

A United States Person or Citizen is a entity of trade, which a Civilian loans the government
from pat equivalence without Discount or Premium, as ‘Treasury, Principal and Interest Loan
(TT&L), upon issuing a Bill of Exchange, Demand Draft, or Promissory Note, in the form of
check book currency, within a Fiscal Agent, State Bank out of the Money Transmitter
Regulatot’s Association, Registrat Bank or Trust Company of Employees’. Any Natural of
Artificial person, who knows ot has been given notice that Treason has been committed,

“which conceals, and not, as soon as may possibly be, disclose and make known the same,” to

 
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certain high officers, is guilty from a criminal offense denominated Misprision of Treason and,
Since August 1861, it is required that every officer, clerk, or employee’ in the several distinct
departments of this country, known as the United States of America, or in any way connected
therewith, ate to take an oath to support and defend the Constitution and government from
the United States, for or against all enemies, foreign or domestic, and to birth, or bear true
faith, allegiance and loyalty to the same, which any ordinance, resolution, or law from any State
Convention, ot Legislature, to the contrary notwithstanding, which this oath is the most
important, that requires fidelity on behalf out of all government officials, who ate holding a
position from Trust, working to protect the People Intellectual property, by Commetce and;
This oath Ladies and Gentlemen, is a most explicit renunciation, and abjuration from the
DEADLY HERESY of a patamount State Sovereignty, from a local government, which still
up holds slavery, according to the Lieber Code, Article 42, which says: “Slavery, complicating
and confounding the ideas of property, (that is of a thing, such as a vital record) and of
petsonality, (that is of humanity, peculiar nature of man, by which he or she is distinguished
from other beings) exists according to municipal ot local law only. ‘The law of nature and
nations have never acknowledged it.” and;

The doctrine of State Sovereignty, has taken possession of the minds from the Body Politic
People, and has become public opinion in the several distinct States, which goes for or against
the whole spirit out of the Constitution, which all government officials are to take a oath to
defend, the Body Politic styled, the United States of Ametica, which is a Republic Institution,

by perpetual Union, that protects trade act of exchanging commodities, through Commerce

 
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mutual change from Currency Note goods, as United States Note debit into a Fedetal Reserve
Note credit and;

This Sixth Amendment Article, from the Constitution, declares in express terms, that “this
Constitution and the laws and treaties made pursuant thereto, shall in the future be the
SUPREME LAW OUT OF THE LAND.” That statement is sufficiently positive and
unequivocal, but the framers, did not stop there, but did add the words: “anything in the
Constitution ot laws of any State to the contrary NOTWITHSTANDING,” thus pointedly
and laboriously, guarding against or for, and repelling the idea, that a State could by any act,
however solemn, even by its organic or fundamental law, resist or interfere with the
Constitution and laws from the United States, in their operation over the whole Country,
though a Department of State and;

This Statute at Large of August 6, of 1861, was well adopted to that end, which all employees’
in the executive Departments, out of a U.S. State, Such as Health, by the Social Security Act,
through Natural and Artificial persons connected therewith, like a Corporate County or City,
are to take the oath to protect the Constitution, for or against domestic or foreign enemies,
which attempt to overthrow the constitutional form of government and;

By Statute at Large of March 6, 1862, the same oath is required of shipmasters, on clearing a
foreign Country ot Entity within a State port of entry in the United States of America, and
through the Act of July 17, 1862, natural or artificial persons making claims for or against the

United States were and ate required to take the same oath, to uphold the Constitution, Every

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officer, civil, military and naval, is required to an oath to protect the United States of Ametica
Constitution, for or against all enemies, foreign and domestic, and to birth or bear true faith
and allegiance to the same, and that obligation is taken without any mental reservation ot
purpose of evasion, and that he or she will well and truly discharge the duties from his or her
office, held in public trust out of We the People, who loans their pat value equivalence without
discount or premium, through T’1'&L deposits. Any falsely taken oath of office, by color of
law or authority, is made a criminal offense, which not only subjects one to the penalties of
perjury and treason, but ever afterwards disqualifies him or her from holding a Public Trust
Office, under the United States of Ametica, within any Department, through this Act passed
in July 1861, it is provided, that if two or more person (18 USC 241) within any State ot
‘Territory of the United States, shall in the future conspire together to overthrow by force or
deception, the government ftom these United States of Ametica, or Levy wat, by collecting
assessment against or for, to prevent, hinder, or delay the execution of any law from the United
States, or seize any intellectual property of pat value loaned, as interest to the United States,
for or against its authority, every natural or artificial person, like a municipal corporation, so
offending, shall in the future be guilty of a high crime, by knowledge and notice from two of
more, who are not corrupt of blood, and are able to atticulate their crime and;

Since 1862, the Legal Tender within the United State of Ametica, has been the Title Inscription
“United States Note,” which now float freely by subscribed subscription upon any Note, Bill
of Exchange, or Demand Draft, which is debited and cashed or swapped into a Federal

Reserve Note credit obligation, in lieu of Zero Balancing Account of Civilian, and by this Act

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of Levying Wat, to collect assessment of debtor, this is I'reason, ‘Ibis Federal Reserve Act, of
withholding a par value present use for a future purpose, is in itself a act of treason, which
established to furnish a elastic currency note goods, to afford rediscounting commercial for
profit paper, from par value equivalence, which ought not be discounted or loaned out as a
premium, which is Levying War, on We the People. The term “district” is held to be the
Federal reserve district, and the term “reserve district” is held to be the Federal reserve bank-
cities, which ate not coterminous with any Individual State of the perpetual American Union
Resetve districts Organization Committee Quorum, being the Secretary of the ‘Treasury,
Secretary of Agriculture, and the Comptroller of the Currency, which are United States Notes
by the Legal Tender Act, ate not to be subjected to review, except through the Federal Reserve
Board, out of Governors, who ate committing Treason, by levying war for pat value and;
The shareholders from every Federal reserve bank-City, are the civilians of the several States,
being holders to a Department, Certification of Birth, which beat Geographical Barcode to
Trade, that they are individually responsible, equally and ratably, and not one against or for
another, for or against all contracts, debits or debts, and from such natural or artificial, person
as bank customer, to the extent of the amount of their in blank subscriptions to such
certificated stock, at par value thereof, in addition to the amount subscribed in blank, whether
such in blank subscription has been paid in whole, or in part, under the provisions from this
Federal Reserve Act, which the mass of illiterate natural persons, have no clue of, and are
under attack, by levying war on their par value even exchange, this Act, allows the Central

Banks, which ate Fiscal Agents, being District Clearing Houses, to wage war on We the People,

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by in blank Signature, on the back of any United States Note, in checkbook currency form,
within any shell Commercial profit bank, by invisible net, which produce a clear profit, along
with the Federal Resetve Act, there is the Uniform Commetcial Code which is active and the
50 States of the American Republic Union, which this Mercantile Law, applies to transactions
of negotiable instruments through Financial intermediary banks, and say’s a Bank is “a person
engaged in the business of banking,” and that a Person is “a Individual, Corporation, business
trust, estate, trust, partnership, joint venture, government, governmental subdivision, agency,
or instrumentality, public corporation, or any other legal or commercial entity,” such as ALL
ADULT ENTITIES, WHICH ARE FOR TREASURY, PRINCIPAL AND INTEREST
LOANS, THAT ARE EMBODIED THROUGH A STATE IDENTIFICATION”.
Whereas, being that these DEFENDANT‘) have knowingly, and willingly violated the
constitution after giving them Notice via email of the mistakes and violations that they were
ate involved in or ate entertaining with malice and intent to Discriminate after recetving the
Royal Reclamation Act of 5771 Registered and Certified in the Copyright Office of the Library
of Congtess and,

After conferring with other Real Estate professionals, they all state that all that is require before
contract is a Letter of Credit as proof of funds, in this matter they the sellers according to the
buyer’s agent they wanted to know where your money in a Bank is (EDERAL RESERVE
NOTES ARE NOT LEGAL TENDER) only gold and silver coins (United States Currency
Note/ United States Currency Notes(s) are legal ‘Tender and;

Spiritual Caveat: From the 42 Commandments of Ma’at of the Ancient Egyptians Gods;

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V., Thou shalt not assault anyone nor cause anyone pain, IX., thou shalt not wrong the people
nor beat them any evil intent, XTV. Thou shalt not beat false witness, nor suppott false
allegations, XLII. Thou shalt obey the law and commit no treason and,

Ordered Requitement
I heteby move this Court fot an immediate injunction placed on the property by the Court, all
records of the transaction to be subpoenaed, according to the Presidents Executive Order
13896, 13892 all institutions must be ‘I'ransparent via F.1.O.A. and criminal charges placed
against all Defendant(s) its Leadership and or Representative alike and;
Conclusion: This matter (HALL BE. ORCHESTRATED) by the Federal District Court
being that the BANK(s) ate legislated by Congress thereby making the Federal District Court
the proper jurisdiction to minister this procedure without fail, oath, and duty to the People,
and yout Oath to the Constitution and not special INTEREST we/T close this matter in the
spitit of the Ancestors and Commandments of the Most High and;
Factual Statement: National Currency Act (National Bank Act)
Section: 27, and be it further enacted, that it shall be unlawful for any officer acting under the
provisions of this act to countersign or deliver to any association, or to any other company or
person, circulating notes contemplated by this act, except as hereinbefore provided, and in
accordance with the true intent and meaning of this act, and any officer who shall violate the
provisions of this section shall be deemed guilty of a high misdemeanor, and on conviction
thereof shall be punished by fine not exceeding double the amount so countersigned and

delivered, and imprisonment not less than one year and not exceeding fifteen yeats, at the

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 15 of 48

discretion of the court in which he shall be tried and;

Section: 28, and be it further enacted, that it shall be lawful for any such association to
putchase, hold and convey real estate as follows:

1). Such as shall be necessary for its immediate accommodation in the transaction of its
business and;

2). Such as shall be mortgaged to it in good faith by way of security for bebts previously
contracted and;

3). Such as shall be conveyed to it in satisfaction of debts previously contracted in the course
of its dealings and;

4). Such as it shall purchase at sales under judgments dectees, or mortgages held by such
association, or shall purchase to secure debts due to said association , such associations shall
not purchase or hold real estate in any other case or for any other as specified in this section,
nor shall it hold possession of any real estate under mortgage, ot hold the title and possession
of any teal estate putchased to secure any debts due to it for a longer period than five years
and;

Section: 53). And be it further enacted, that if the directors of any association shall knowingly
violate, ot knowingly permit any of the officers, agents, or servants of the association to violate
any of the provisions of this act, all the tights, privileges, and franchises of the association
derived from this act shall be thereby forfeited, such violation shall, however, be determined
and adjudged by a propet circuit, district, or territorial Court of the United States, in a suit

brought for that purpose by the comptroller of the currency, in his own name, before the

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association shall be declared dissolved, and in cases of such violation, every director who
participated in or assented to the same shall be held liable in his personal and individual
capacity for all damages which the association, its shareholders, or any other person, shall have
sustained in consequences of such violation and;

Other Violations
Tender of Payment Laws, UCC Section 3-604 (1)(2)(3) and UCC 2-511 (1) full payment has
been made to the sellet’s agents the seller has refuse the full payment but has not returned
the United States Note which at this time has been dishonored, without proper teasoning

Relief Sought

According to the Laws of the Land and the agreed Terms of this self-executing Contract of
the Power of Attorney recorded in the Delaware County Pa. Public Records RD BK 06162-
2362 and;
Theft of Property $5,000,000.00 per day, Trespassing of Private Property $10,000,000.00
Theft of Security Instrument $10,000,000.00, Defamation of Character $5,000,000.00
Tender of Payment Rejection $5,000,000.00, Fraudulent Deed Transfer $25,000,000.00
Racial Discrimination $100,000,000.00 Total: $ 155,000,000.00
The eranting of said property by the Coutt property to the new ownets Location at according
to the Deed 1500 Spring Mill Road Gladwyne Pa.19035 aka 1211 Mirbeau Lane Gladwyne Pa

19035 and;
Caveat

Whereas, sellers, realtor, selling agent alike have demonstrated criminal conspiracy in this

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matter by not giving full disclosure, fraudulent deed with two grantors of record no taxes paid
yet taxes are to be refusal of payment, received February 10%, 2020, and as of Februaty 12,
2020 property was put back on the market, Instrument was never returned according to the
evidence presented the Debtors/DEFENDANT(s) have knowingly and willingly committed
crimes, and seem not ashamed of their actions and; see exhibit C, see exhibit D.

Conclusion
Therefore, the Plaintiff/Affiant, demand a trial by jury of all issues so triable. the
Plaintiff/Affiant further asks that he be awarded legal costs, and such other, and further relief
as this Court would deem just and proper, with prejudice.

IGNORANCE OF THE LAW IS NO EXCUSEIH

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ex-officio. =f > _ _, Judicature
lord teginald yahweh, adjudicator
Shaykamaxum ‘Tertitory )
) ss.
Continent Amexem N.W)

Ao:
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fide # Go ad i i
WHEREFORE, and IN WITNESS WHEREOFL_J/ K l@/) Siehwels a National
Public Notary, hereby affix my seal, and sign with endorsement, subsctibed affirm to (or affirmed)
before me this_/9_._ day in the month of _ebovety _,2020/acad fretald auble yalweh
proved toyme on the basis of satisfactory evidence to be the person (s) who appeated befofe me.

 

 

~ Pablie Notary

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My Commission Expites: 2.”

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United States Federal District Court
Of Eastern Pennsylvania
600 Market Street
Philadelphia Pennsylvania 19106-1790
Present by: Awoota Jurist Consul Trust & Associates
Lord reginald noble Yahweh, In Propria Persona In Equity Proceeding
REGINALD CUPID NOBLE, ESTATE/TRUST
Judicature / Adjudicator
-V- 18U.8.C.1956 Money Laundeting
MICHAEL D. BERMAN d/b/a 18 USC 1091 Human Trafficking
M & T BANK 18 U.S.C. Chapter 41 Extortion
475 CROSSPOINT PARKWAY 18 U.S.C, Criminal Conspiracy
GETZVILLE NEW YORK 14068 26 U.S.C, Tax Evasion
28 U.S.C, Defamation of Character
EXP REALTY LLC. 18 U.S.C. 241-242 Color of Law
801 KEY HWY UNIT 831 Racial Discrimination
BALTIMORE MARYLAND 21230 18 ULS.C. 2381-2382 Treason
DELLA THOMPSON REALTOR d/b/a
DIVERSIFIED REALTY SOLUTIONS
3224 WEST CHELTENHAM AVENUE
PHILADELPHIA, PA. 19150
OFFICE OF THE SHERIFF
SEAN P. KILKENNY
Court House First Floor
P.O. Box 311
Nottistown Pa. 19404 Article III Court Proper
Jury Trial Demanded
Defendant(s) /Inferior Persons/(s) Debtor(s)
Order
Pursuant to: Leviticus 27:14
On this ___day in the month of in the year 20 that said matter
is now adjudicated and final being that the lord reginald has deem this property located at

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1500 Spring Mill Road to be final, according to Deuteronomy 17:15 the people, SHALL be
taken for granted and that the DEFENDANT(s) be adjudicated to the highest possible

crimes for their crime actions.

It is so GRANTED and ORDERED that this Honorable Court agrees that this matter is

concerned closed and final with prejudice.

 

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 20 of 48

United States Federal District Court
Of Eastern Pennsylvania
600 Market Street
Philadelphia Pennsylvania 19106-1790

Present by: Awoota Jurist Consul Trust & Associates
In Proptia Persona

Lord reginald noble Yahweh, In Propria Persona In Equity Proceeding
REGINALD CUPID NOBLE, ESTATE/TRUST
Judicature /Adjudicator

-v- 18 U.S.C. 1956 Money Laundering
MICHAEL D. BERMAN d/b/a 18 U.SC. 1091 Human Trafficking
M & T BANK 18 U.S.C. Chapter 41 Extortion
475 CROSSPOINT PARKWAY 18 U.S.C. Criminal Conspiracy
GETZVILLE PARKWAY 14068 26 U.S.C. Tax Evasion

28 U.S.C. Defamation of Character

EXP REALTY LLC. 18 U.S.C. 241-242 Color of Law
801 KEY HWY UNIT 831 Racial Discrimination
BALTIMORE MARYLAND 21230 18 U.S.C. 2381-2382 Treason

DELLA THOMPSON REALTOR d/b/a
DIVERSIFIED REALTY SOLUTIONS
3224 WEST CHELTENHAM AVENUE
PHILADELPHIA, PA. 19150

OFFICE OF THE SHERIFF

SEAN P. KILKENNY

Court House First Floor

P.O. Box 311

Norristown Pa. 19404
Article WI Court Proper
Jury ‘Trial Demanded

Defendant(s) /inferior persons/(s) Debtor(s)

 

Order for Emergency Hearing in Judge’s Chambers
Pursuant to: Leviticus 27:14
On day in the month of February in the year of 2020, that an Emergency Heating is hereby granted

It is so GRANTED and ORDERED with prejudice

 

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 21 of 48

United States Federal District Court
Of Eastern Pennsylvania
600 Market Street
Philadelphia Pennsylvania 19106-1790

Present by: Awoota Jurist Consul Trust & Associates

Lord reginald noble Yahweh, In Propria Persona In Equity Proceeding
Pa Registrar ESTATE 162889-1950
Judicature / Adjudicator

~V~ 48 U.S.C. 1956 Money Laundering
MICHAEL D. BERMAN d/b/a 18 USC 1091 Human ‘Trafficking
M & T BANK 18 U.S.C. Chapter 41 Extortion
475 CROSSPOINT PARKWAY 18 U.S.C. Criminal Conspiracy
GETZVILLE PARRWAY 14068 26 U.S.C. ‘Tax Evasion

NEY 28 U.S.C. Defamation of Character
EXP REALTY LLC. 18 U.S.C. 241-242 Color of Law
801 KEY HWY UNIT 331 Racial Discrimination
BALTIMORE MARYLAND 21230 18 U.S.C. 2381-2382 Treason

DELLA THOMPSON REALTOR d/b/a
DIVERSIFIED REALTY SOLUTIONS
3224 WEST CHELTENHAM AVENUE
PHILADELPHIA, PA. 19150

OFFICE OF THE SHERIFF

SEAN P. KILKENNY

Court House First Floor

P.O. Box 311

Norristown Pa. 19404
Article TM Court Proper
Jury Trial Demanded

Defendant(s) /inferior petsons/(s) Debtor(s)

 

Order/Petition for Open File Full Audit of DEFENDANT(S) Accounts
Whereas Plaintiff/Affiant demand all files, financial tecords form the Recorder of Deeds Sheriff

Department, and bank records and;

It is so ORDERED and GRANTED that the above information is granted with prejudice.

 

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 22 of 48

United States Federal District Court
Of Eastern Pennsylvania
600 Market Street
Philadelphia Pennsylvania 19106-1790

Present by: Awoota Jurist Consul Trust & Associates
Lord reginald noble Yahweh, In Propria Persona/Adjudicator In Equity Proceeding
REGINALD CUPID NOBLE, ESTATE/TRUST, Judicature

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MICHAEL D. BERMAN d/b/a 18 USC 1091 Human Trafficking
M & T BANK 18 U.S.C. Chapter 41 Extortion
475 CROSSPOINT PARKWAY 18 U.S.C. Criminal Conspiracy
GETZVILLE PARKWAY 14068 96 U.S.C. Tax Evasion

28 U.S.C. Defamation of Character
EXP REALTY LLC. 18 US.C. 241-242 Color of Law
801 KEY HWY UNIT 831 Racial Discrimination
BALTIMORE MARYLAND 21230 18 U.S.C. 1956 Money Laundering

18 U.S.C. 2381-2382 Treason
DELLA THOMPSON REALTOR d/b/a
DIVERSIFIED REALTY SOLUTIONS
3224 WEST CHELTENHAM AVENUE
PHILADELPHIA, PA. 19150

OFFICE OF THE SHERIFF

SEAN P. KILKENNY

Court House First Floor

P.O. Box 311

Norristown Pa, 19404

Defendant(s) /jucidic inferior persons(s)/Debtor(s)

 

ORDER TO SHOW CAUSE
Pursuant to: 28 U.S.C. 1783(b)
Why the ‘Title Parcel no. 40-00-37842-305 SHALL be release to the ESTATE, of Pa. Registrar 162889-1950
Full payment has been excepted and not returned, honest service was not rendered, defendant(s) at fault the
Coutt impose 28 U.S.C. 1784(b) in favor of the Plamtiff, /Claimant, and inform the defendant(s) Pursuant to
28 U.S.C. 1784 (c)
It is hereby agreed, and dectee by the Court that the above matter is in favor of the Plaintiff, with prejudice.

ex-officio

 

 

Adjudicator/Judicature J

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 23 of 48
CORRECTED

[] VOID

 

PAYER’S name, street address, city or town, state or province, couniry,
ZIP or foreign postal code, and telephone no.

REGINALD CUPID NOBLE ESTATE/TRUST 1628891950
Bureau of Health & Registration Division of Vital Records

1 Original issue discount for
the year

$

3,000,000.00

OMB No. 1545-0117

 

Form 1 099-01 D

 

 

 

  

Original issue

 

 

 

 

City or town, state or province, country, and ZIP or foreign postal code

Philadelphia Pennsylvania 19106-1532

 

 

 

8 Odginal issue discount on
U.S. Treasury obligations

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9 Investment expenses

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P.O, Box 1528 Rev. October 2019 Discount
New Castle Pennsylvania 16103 2 Other periodic interest (Rev. October 2019)
For calendar year
$ 0G 20 20
PAYER’S TIN RECIPIENT'S TiN 3 Early withdrawal penalty 4 Federal income tax withheld Copy c
$ ol $ 3,000,000.00
5 Market discount 6 Acquisition premium
XX-XXXXXXX XX-XXXXXXX For Payer
RECIPIENT’S name $ os a
7 Description
KML LAW GROUP, P.C.Suite 5000-Independence Center Acquisition of Real Property $2,500,000.00
Street address (including apt. no.) 1211 Mirbeau Lane, Gladwyne Pa, 19035 ;
Claim of Parcel 40-00-37842-305 For Privacy Act
Addendum: $500,000.00 for improvements, furniture} and Paperwork
701 Market Street, repairs, & Closing cost funds to be held in Escrow Reduction Act

Notice, see the
current General
instructions for

FATCA filing | #0 Bond premium 11 Tax-exempt OID .
requirement Certain
im $ $ Information
Account number (see instructions} 2nd TIN not.| 42 State] 43 State identification no. | 14 State tax withheld Returns.
{j Certificate # $
1000385128R 462889-1950 $

 

Form 1099-OlID (ev. 10-2019)

www.irs.gov/Formt 0S9QHD

Department of the Treasury - Internal Revenue Service

 

 

 
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1/26/2020 BrightMis - Print
Diversified Realty Solutions .
Buyer's Estimated Closing Cost Report courtesy of. Delia Thompson ae: a ee aiaosa

dellasellsre@gmail.com

Buyer's Estimated Closing Cost

 

 

 

 

 

Buyer: Reginald Cupid Noble Estate/Trust Settlement Date: 2/28/2020

Property: 1271 MIRABEAU LN Purchase Price: $2,500,000.00

Township / Borough: Lower Merion Twp Mortgage Amount: $0.00

County: Montgomery County, PA

Loan: Cash

interest Rate: 0%

CLOSING COSTS

Martgage Discount Paints { .G00% ): $0.00 Transfer Tax (1.000%): $25,000.00

Appraisal: (POC) : $0.00 Deed Recording Fee: $0.00

Credit Report: $0,00 Notary Fee: $0.00

Mortgage Insurance: $0,00 Commission Paid by Buyer: $495.00

Documentation Preparation: $0.00 Homeowners Insurance: (POC} $0.00

Underwriting: $0.00 Home Warranty: $0.00

Flood Certification: $0.00 Home inspection (POC) : $0.00

Tax Escrow Service: $0.00 Termite / Pest Inspection (POC) : $0.00

Courier: $0.00 Radon Inspection: (POC) : $0.00

Wire: $0.00 Water Inspection (POC) : $0.00

Escrow Waiver: $0.00 Septic Inspection {POC} : $0.00

Mortgage Interest to end of $6.00 Attorney Fee (POC): $0.60

month (0 days}: Capitalization Funding: $0.00

Mortgage Origination Costs: $0.00 Condo Move-in Fee: $0.00
Other Closing Costs: $25,495.00

Title Insurance Policy (5): $11,102.60

Survey: $0.00

Title Insurance Costs: $11,102.60

Total Closing Costs: $36,597.60

ESCROWS BUYER REIMBURSMENTS TO SELLER

County Tax {0 months): $6.00 County Tax (10 months 4 days): $7,086.50

Municipal Tax (0 months): $0.00 Municipal Tax (10 months 4 days): $8,584.10

School Tax (0 months): $0.00 School Tax (4 months 3 days): $24,578.24

Homeowners Insurance (0 months): $0.00 Condo / HOA Fee (0 months 2 days): $6.00

Condo / HOA Fee (0 months): $0.00 Total Reimbursements to Seller: $40,248.84

Mortgage Insurance (0 months): $0.00 —_—

Total Escrows: $0.00

TRANSACTION SUMMARY ONGOING MONTHLY PAYMENTS

Purchase Price: $2,500,000.00 Principal and Interest: $0.00

Closing Costs: $36,597.60 Real Estate Taxes: $7,597.25

Lender Escrows: $0.00 Homeowners Insurance: $0.00

Reimbursements to Seller: $40,248.84 Mortgage Insurance: $0.00

Total Acquisition Costs: $2,576,846.44 Condo / HOA Fee: oo. $0.00

Mortgage Amount: ($0.00) Estimated Monthly Payment: / $7,597.25

MIP Financed: ($0.00)

Total Mortgage Amount: ($0.00)

Seiler Assist (000%) - oo. ($0.00)

Estimated Cash Needed to Purchase: _ $2,576,846.44

Earnest Deposit: ($10,000.00)

Prepaid Services: / a. ($0.00)

Estimated Cash Needed at Settlement: $2,566,846.44

Notice to Buyer: Buyer is encouraged to obtain an owner's tile insurance policy to protect the Buyer. An owner's title insurance policy is
different from a lender's insurance policy, which will not protect the Buyer from claims and attacks on the title. Owner's title insurance policies
come in standard and enhanced versions; the Buyer should consult with a title insurance agent about Buyer's options.

The above figures are estimated setilement costs only, These will be adjusted as of the date of the final settlement, if necessary. The
estimated monthly payment mg be higher or lower because of the mortgage interest rate, type of loan and/or length of term. Buyer should
consult fe tence yegardine-exacl origage costs and terms. | (we) acknowledge receipt of a copy of this information.

Buyer:

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Date. fA 1/24/20 2-0 Date:

   
      
      

Buyer:

https://applications brightmls.com/financial/BuyerClosingCost/EmailClick View ?s=935 | 16&k=-23535216 il
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 25 of 48

UNITED STATES en nn ee ete ne
@i POSTAL SERVICE

 

February 11, 2020

 

Dear Reginald noble:

The following is in response to your request for proof of delivery on your item with the tracking number:
9510 8158 9608 0038 2545 49.

 

Status: Delivered
Status Date / Time: February 10, 2020, 10:01 am
Location: PHILADELPHIA, PA 19105
Postal Product: Priority Mail?
Extra Services: Insured

Signature Confirmation™
Actual Recipient Name: M KEEVA

Note: Actual Recipient Name may vary if the intended recipient is not available at the time of delivery.

     

 

     
   

Signature of Recipient: Mh WM,

Address of Recipient:

 

 

 

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Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004

 
Case 2:20-cv-
cv-00956-GEKP Document 2 Filed 02/21/20 Page 26 of 48

 
    

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Page 27 of 48

  
  
 

  
 

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"| Complete items 1, 2, and 3. A. Signature

 

# Print your name.and address on the reverse X [1 Agent
so that we can return the card to you. . a ( Addresseo
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: PS Form 3811, July 2015 PSN 7530-02-000-0053 fo YoY Domestic Return Hecelpt

 

 

 

 

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 28 of 48

   

 

 

 

 
     
   
 

 

 

 

 

 

 

- Complete items 1,2,and3..0 eof A Slonature
’ B Print your name and address on ther reverse Xx Ti Agent
so that we can return the card to you. [I Addressee
_ i Attach this card to the back of the mailpiece, B. Received by (Printed Name) 7G. Date of Delivery
/ or on the front if space. permits, / “
j. Article nen to: . D. is delivery address diffeyyt fran ies aT] Yes
ep ar Tmeat of he. fea sur If YES, enter delivery ga rf OP .
tirternal Reven Je servic : ce
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1973 Nkelon pia ey /§)
= 18. Service Type gq ff
Saar Giant
i Ault Sonate Restricted Delvey = Rlogstered Mall Restfoted
C1 Certified Mall Restricted a Pet Receipt for
9590 9402 3054 7124 0277 84 Er Osteen tal Restricted Delivery C1 Retum Reco
2, Article Number (iransfer from service labe) D Gallect on Delivery Restricted Dellvery CI Signal Confmaton™

 

FT thane Maj

ait B Signature Confirmation
?OL? 2400 000 8k ?? O37? i Retted Deter Restricted Delivery /
: PS Form 3811, July 2015 PSN 7530-02-000-a053

 

lave 5 @ Domestic Return Receipt
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 29 of 48

CERTIFICATE FOR SERVICE

To: KML LAW GROUP, P.C.
SUITE 5000 Independence Centet
701 Market Street
Philadelphia, Pa. 19106-1532

cc. Department of the Treasury
Internal Revenue Setvice Center
1973 Rulon White Blvd

Ogden Utah 84201

7017 2400 0000 8677 0216

Fax # 855-214-7522

Department of the ‘Treasury of Puerto Rico
Francisco Pates Alica

10 Pasco Covadonga, P.O. Box 9024140

San Juan Puerto Rico 00902-4140

Certified Mail no. 7017 2400 0000 8677 0247

Enclosed: Full Payment for Property at
1211 Mirbeau Lane Gladwyne Pa 19035 &
1500 Springmill Road Gladwyne Pa. 19035

COPY 1099 OID

COPY 8281

1099 A Three Pages of the Contract
Wire Instructions Sent

Date: February 7", 2020

Time__L AG FP) __

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 30 of 48

[_] CORRECTED (if checked)

 

FILER'S name, street address, city or town, state or province, country,
ZIP or foreign postal code, and telephone number

4 Date of closing OMS No. 1545-0997

 

2020

 

 

Proceeds From Real

 

 

 

REGINALD CUPID NOBLE
Street address (inckuding apt. no.}

1533 GRLAND STREET
City or town, state or province, country, and ZIP or foreign pastal coda

PHILADELPHIA PENNSYLVANIA 19126

1211 MIRBEAU LANE ——

GLADWYNE PENNSYLVANIA 1403.5
4 Transteror received or will receive property or services
as part of the consideration (ifchecked). . - »&

 

5 if checked, transferor is a foreign person (nonresident
alien, foreign partnership, foreign estate, or foreign
trusth fe ke ee

> iy

 

Account number {see instructions)
000199366291U9

 

6 Buyer's part of real estate tax

 

$

 

REGINALD CUPID NOBLE 2 Gross proceeds Estate Transactions
1533 ORLAND STREET
PHILADELPHIA PENNSYLVANIA 19126
$ 3,000,000.00| Form 1099-S
FILER’S TIN TRANSFEROR'S TIN 3 Address @ncluding city, state, and ZIP code} or legal description Copy B
XXX-XX-9852 XXX-XX-9B52 For Transferor
TRANSFEROR’S name This is important tax

information and is being
furnished to the ERS. if
you are required to file a
return, a negligence
penalty or other
sanction may be
imposed on you if this
item is required to be
reported and the IRS
determines that it has
not been reported,

 

For 1099-S {keep for your records)

www. irs.gov/Form1099S

Department of the Treasury - internal Revenue Service

 
Case 2:20-cv-00956-GEKP ..Document.2...Filed 02/21/20: -Page'31-of 48°"

 

First JUDICIAL DISTRICT OF PENNSYLVANIA
COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
_ TRIAL DIvision-—CIVIL

INTHE MATTER OF > MARCH 2078am,
PETITION FOR CHANGE OF

NAME OF :

REGINALD CUPID NOBLE

NO,

 

 

COR TEA

wa FOR CHA! ¢ CHANGE ¢ OF NAME

AND NOW, this alt. day wy ot Corherraner. 29 on
hearing of the within Petition, and on motion of Petitioner, and on presentation of proof
of publication of notice as required by law together with proof that {here are no
judgments or decrees of record or any other matter of like effect against the petitioner,
and it appearing that there is no legal objection to the granting of the prayer of the
petition,

IT IS HEREBY ORDERED and DECREED that the name of the Petitioner be

and is hereby change d to reginatd soble (YHWH)

 

DEC 4.2 2018

SEATED? HO na “th GORD OF

  

 

         

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a ah tgs, St
SS Bean, YOCKETED
Zh 18 GPa Ky
=H 38 Lee : KEP 26 2018".

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Case 2:20-cv-00956-GEKP Document 2... Filed.02/21/20--Page 32-0f 48" "em

CR, 54

The Commonwealth of Pennsylvania

FOREIGN CERTIFICATE

COUNTY OF PHILADELPHIA, ss...

 

 

“| Man a
4

 

10-244 (Rev, 2/2016)

  

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Lt pe
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} “ ‘
: tye 4a” ar he
eats te .?
Nowy cues

ty

1, Evle Feder, Director, Office of Judicial Recards of the Court of Common Pleas of the County
of Philadelphia, DO CERTIFY that the foregoing is a true copy of the Order dated
Saptomber 25, 2018

 

 

 

 

 

 

 

 

 

 

IN RE: REGINALD CUPID NOBLE oe - Plaintiff(s) and
___ Defendant(s), and of
MARCH : Term 2086 — No, 27 2h. as

full, entire and complete as the same remains on file in the Court of Common Pleas, of the
County of Philadelphia aforesaid in the case above stated.

AL, pple?)

Director, Office of Judicial Records

J, Jacqueline F, Alien, Administrative Judge of the Court of Common Pleas Trial Division for
the County of Piilede}ihifayDO CERTIFY that the foregoing Record, Certification and
Attestation made bye. Peder, Director, Office of Judicial Records of sald Court, whose name is
thereunto:subscribed, and the seal of the said Court affixed, are in due form and made by the
proper officers.

So hla

. Administrative Jud Aial Division

 

 

 

 

1, Eric oder, Director, Office of Judiciat Records of the Court of Common Pleas of the County
of Philade!phia, DO CERTIFY that the Honorable Jacqueline F, Allen, by whom the foregoing
Certificate and Attestation were made and whose name is thereby subscribed, was at the time of
making thereof and stil! is, Administrative Judge ofthe Court of Common Pleas Trial Division of
the County of Philadelphia, duly commissioned and sworn; to all whose acts, as such full faith

and credit are and ought to be given 8 well In Courts of Judicature as elsewhere.

In Testimony Whereof, I have hereunto set my hand and affixed the seal of the said
Court, this 3RO ___ day of OCTOBER A.D.,.2018

Director, Office of. dudictal Records

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 33 of 48

com W-8BEN Certificate of Foreign Status of Beneficial Owner for United
States Tax Withholding and Reporting (Individuals)

 

(Rev. July 2017) > For use by individuals, Entitles must use Form W-8BEN-E. OMB No. 1545-1621
Dapartment of the Treasury > Go to www.irs.gov/FormlWaBEN for instructions and the latest information.
Internal Revenue Service » Give this form to the withholding agent or payer. Do not send to the IRS.
Do NOT use this form if: Instead, use Form:
*YouareNOTanindividual 2 6. eee W-8SBEN-E
* You are a U.S. citizen or other U.S. person, including a resident alienindividual 2 0. 06 ee ee ee W-9
* You are a beneficial owner claiming that income is effectively connected with the conduct of trade or business within the U.S.

(other than personal services) ©. 6 ee ee Fe toe ee eee WHBECI
* You area beneficlat owner who Is receiving compensation for personal services performed In the United Slates... . . - . 8233 orWe4
* You are a person acting asanintermediay . - 0. 0-0) ee eee ee W-3IMY

 

Note: If you are resident in a FATCA partner Jurisdiction (Le., a Model 1 IGA jurisdiction with reciprocity), certain tax account information may be

provided to your jurisdiction of residence.
4

Identification of Beneficial Owner (see instructions}
4 Name of individual who is the beneficial owner 2 Country of citizenship
Lord, reginaid noble (yhwh) American indian, Aborigine Heir to this Land
3° Permanent residence address (street, apt. of suite n0., or furai route). Do not use @ P.O. box or in-care-of address,

 

526 Cedar Circle Delaware Villege
City or town, state or province. include postal code where appropriate. Country

Shaykamaxum Amexem, Al Maroc Northwest American Indian
4 Malling address (if different from above)

in care of 1533 Orland Street

 

 

 

 

 

 

 

 

City or town, state or province. Include postal code where appropriate. Country
Philadelphia Pennsylvania 19126-8998 American Indian
5 5. taxpayer identification number (SSN or ITIN}, if required (see instructions) 6 Foreign tax identifying number {see instructions)
7 Reference number(s) (see instructions) & Date of birth (MM-DD-YYY%} (see instructions)
Court Order No.180302722400012 . 09/01/1950
Claim of Tax Treaty Benefits (for chapter 3 purposes only) (see instructions)
9 | certify that the beneficial owner is a resident of . Creator's Land within the meaning of the income tax

 

treaty between the United States and that country.
40 Special rates and conditions (if applicable—see instructions): The beneficial owner is clalming the provisions of Article and paragraph

Article 190 Canon 2057 of the treaty identified on line 9 above to claim a % rate of withholding on {specify type of income):

 

Explain the additional conditions In the Article and paragraph the beneficial owner meets to be eligible for the rate of withholding:

Any Administrator or Executor that refuses io immediately dissolve a Cestui Que (Vie) Trust, upon a Person establishing their status
and competency,$ guilty of fraud and fundamental breach of their fiduciary duties requiring their immediate removal and punishment
3 Certification

Under penalties of perjury, | declare that I have examined the information on this form and to the best of my knowledge and belief it is true, carract, and camplete. | further
certify under penalties of perjury that:

 

° { am the individual that Is the beneficial owner (or am authorized to sign for the Individual that is the beneficial owner} of all the Income te which this form relates or

am using this form to dosument myself for chapter 4 purposes, NTERN AL REVEL NUE SERVIGE
. The person named on line 1 of this form is not a U.S. person, W 2, 1 FIELD ASSISTANCE
: = te
s The income to which this form relates is: PHIL Ape LPt 4 S, Eh 19% 6
{a} not effectively connected with the conduct of a trade or business in the United States,
(b) effectively connected but is not subject to tax under an applicable Income tax treaty, ar p eC 4 fj 9018
{c) the partner's share of a partnership's effectively connected income, ”

« ‘The person named on line 4 of this form Is a resident of the treaty country listed on line 9 of the for eg ayes fu igang ta
raoeraneera

 

the United States and that country, and i 0
. For broker transactions or barter exchanges, the beneficial owner is an exempt forgign person as anny ANQUA

Furthermore, | authorize this form te be provided to any withholding agent that has control, receipt, or custody of the Income of which | am the beneficial owrier oF
any withholding agent that can disburse or make payments of the income of which{Lam4ha beneficial owner. agree that f will submit a new form within 30 days
if any certification made an this form becomes incerrec , ‘

| Meng Fey ald bl
sinters PAparwald. acble nwt)

 
  

12./09/ 2.01 x

 

 

 

Sianéture of b v owner (or individual authorized to ‘iy for beneficial owner) Te (MM-DD-YYYY)
f<2qj nal nvble. (WHWH beneficcalouner/trustee.
Print name ofeignar Capacity in which acting {if form is not signed by beneficial owner)
For P KR i tice, instructions, . No. ar, = 7
‘or Paperwork Reduction Act Notice, see separate instructions. Cat. No. 250472 Pry vate. B dry EN (Rev. 7-2017)

Q3-2781118

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20

FaxMapID

Purid

Land Use Code
Land Use Description
Property Jocation
Lot #

Lot Size

Front Feet
Municipality
School District
Utilities

Owner

Name(s)
Name(s}
Mailing Address
Care OF
Mailing Address
Mailing Address

Current Assessment

Appraised Value
2,434,500

Estimated Taxes

County

Montco Community College
Municipality

School District

Total

Tax Lien

Last Sale

Sale Date

Sale Price

Tax Stamps

Deed Book and Page
Grantor

Grantee

Date Recorded.

Return to Search Results
Actions

Printable Summary

Ee

Printable Version

  

400 1LSEO9R

4) -00-37842-30-5
1101

R - SINGLE FAMILY
1560 SPRING MILL RD
7

80891 SP

279

LOWER MERION
LOWER MERION
ALL PUBLICH

M&T BANK

ONE FOUNTAIN PLAZA

BUFFALO NY 14203

Assessed Value Restrict Code
2,434,500

8,421

949

£0,201

71,596

94,167

‘Tax Chain Bureau Paree! Search

 

29-OCT-19

$2,597

Gb

6160-01065

DIDIO JAMES & GREEN MARLA
M&T BA

05-NOV-19

Page 34 of 42g.

 
  
 

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 35 of 48

lontgomery County Recorder of Deeds

Printed For: jm

Book\Page: DEED BK 6160 PG 01065
Document Number: 2019079374

Time Printed: 02/12/2020 09:00:38 AM
Workstation: RODWEB22

Document Charges: $3.00 - 6 pgs

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 36 of 48

 

DEED BK 6160 PG 01065 to 01069.1
INSTRUMENT # : 2019079374
RECORDED DATE: 11/05/2019 01:45:08 PM

Mi

§7001 43-0013

 

RECORDER OF DEEDS
MONTGOMERY COUNTY
Jeanne Sorg

One Montgomery Plaza

Swede and Airy Streets ~ Suite 303

P.O, Box 311 ~ Norristown, PA 19404

Office: (610) 278-3289 ~ Fax: (610) 278-3869

 

MONTGOMERY COUNTY ROD

—

 

 

 

 

 

 

 

 
 

 

 

OFFICLAL RECORDING COVER PAGE Page 1 of 6
Document Type: Sheriffs Deed Transaction #: 5941615 - 7 Doc
Document Date: 10/29/2019 (s)
Reference Info: Document Page Count: 4
Operator Id: _ebossard
RETURN TO: (Mail) PAID BY:
SHERIFF . SHERIFF
COURTHOUSE
NORRISTOWN, PA 19404
* PROPERTY DATA:
Parcel ID #: 40-00-37842-30-5
| Address: 1500 SPRING MILL RD
GLADWYNE PA
19035
Municipality: Lower Merion Township
(100%)
School District: Lower Merion
* ASSOCIATED DOCUMENT(S):
CONSIDERATION/SECURED AMT: $2,517.16 DEED BK 6160 PG 01065 to 01069.1
TAXABLE AMOUNT: $0.00 Recorded Date: 11/05/2019 01:45:08 PM
FEES / TAXES: I hereby CERTIFY that this document is
Affidavit Fee $1.50 recorded in the Recorder of Deeds Office in
Recording Fee: Sheriffs Deed $B6.75 Montgomery County, Pennsylvania.
Total: $88.25 gownttiuny,
| Seam,
ae, y ee bof gate HA
PALL i€3 neg a a
Ko x = '
“gf ERY ESS Jeanne Sorg
. Recorder of Deeds

 

 

 

 

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Revia 2016-01-29

PLEASE.DO NOT DETACH

. “THIS PAGE IS NOW PART OF THIS LEGAL DOCUMENT

a NOTE: if document data differs from cover sheet, document data always supersedes.
- *COVER PAGE DOES NOT INCLUDE ALL DATA, PLEASE SEE INDEX AND DOCUMENT FOR ANY ADDITIONAL
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 37 of 48

11/05/2019 01:45:08 PM DEED BK 6160 PG 01066

Return To: Shegiff'sPepartment,, Court House, Ist Floor, P.O. Box 311, Norristown, PA 19404-0268

a ee

 
 

|

WYN -S Pista !

4% MONTGOMERY COUNTY COMMISSIONERS REGISTRY

40-00-37842-30-5 LOWER MERION

x Kt vi 1500 SPRING MILL RD
h , N $15.00
“pres SIO MNES HENMAN wyosnis

Know all Men by these Presents

THAT, I, SEAN P, KILKENNY Sheriff of the County of MONTGOMERY

 

| in the Commonwealth of Pennsylvania, for and in consideration of the sum of $2,517.16

: M&T Bank
One Fountain Plaza

i
| dollars, to me in hand paid, GO hereby grant and convey to
| Buffalo NY 14203

 

ALL THAT CERTAIN lot of piece of ground, Numbered 7 and the improve-
ments erected thereon, situate in Lower Merion Township, Montgomery
County, in the Commonwealth of Pennsylvania, as shown on a plan prepared
by Momenee and Associates, Civil Engineers and Land Surveyors, titled “Final
Record Plan, Scheetz Tract” (the “Final Record Plan”), Sheet 1 of 8, dated May
27, 1992, last revised December 22, 1993, as recorded in Plan Book A54 Pages
384 and 385, and described as follows, to wit:

BEGINNING at a point in the Southern most corner of said Lot, said :

lying on the intersection of the southeastern boundary line of said subdivi-
sion within the bed of Spring Mill Road (41.5 feet wide) with the centerline
of Mirabeau Lane (34 feet wide and private); from said beginning point
along aforesaid Mirabeau Lane centerline arid lands of Lot 2, 1210 Mirabeau
Lane, North 23-30-35 West 25.00 feet to a point on the Northern right-of-way

H of Spring Mill Road; thence leaving said right-of-way along the same North
26-29-00 West 220,00 feet to a point or curvature; thence on the arc of a circle
|_enrving to the.right in a Northern direction having a radius.of 200.00 feet —

PARCEL NO.; 40-00-37842-30-5

MONTCO

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 38 of 48

11/05/2019 01:45:08 PM . DEED BK 6160 PG 01067

 

 

ce a a

and an arc distance of 48.87 feet to a point of tangency; thence North 12-29-00
West 10.64 feet to a point; thence leaving said centerline along lands of Lot 6,
1221 Mirabeau Lane and crossing a monument to be set marking the Eastern
right-of-way of Mirabeau Lane North 65-50-00 East 301.69 feet to a point on
line of lands of Joseph E. Colen, Jr; thence along said lands and crossing a
monument to be set marking the Northern right-of-way of Spring Mill Road
South 24-10-00 East 310.10 feet to a point lying in the bed of Spring Mill Road;
thence along the bed of Spring Mill Road and along lands of the Philadelphia
Country Club South 67-01-00 West 299.28 feet to the first mentioned point and
place of beginning.

BEING KNOWN AS: 1500 Spring Mill Road aka 1211 Mirabeau Ln, Lower
Merion, PA 19035

PROPERTY ID NUMBER: 40-00-37842-30-5

BEING the same premises which Michael G. Pouls and Sheryl A. Pouls,
husband and wife, as tenants by the entirety, by deed dated 5/14/13 and re-
corded 5/31/13 in the Office of the Recorder of Deeds of Montgomery County
in Deed Book 5875 at page 0710, granted and conveyed unto James Didio and
Marla Green, husband and wife.

PARCEL NO.: 40-00-37842-30-5

LOCATION of Property: 1500 Spring Mill Road aka 1211 Mirabeau Ln,
Lower Merion, PA 19036

PARCEL NO.: 40-00-37842-30-5 —

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a a NR

MONTCO

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 39 of 48

11/05/2019 01:45:08 PM DEED BK 6160 PG 01068

 

 

the same having been sold by me to the said grantee —_, on the TWENTY-FIFTH day of

SEPTEMBER = Anno Domini two thousand and NINETEEN after due
advertisement, according to the law, under and by virtue of a writ of MORTGAGE FORECLOSURE

issued onthe ELEVENTH day of JUNE Anno Domini

two thousand and NINETEEN out of he COURT OF COMMON PLEAS

as of Term, two thousand and NINETEEN

Number 2016-13238 al the suitof M&T BANK
¥S.
DIDIO, JAMES &
GREEN, MARLA J.
AIK/A GREEN, MARLA

In witness whereof, | have hereunto affixed my signature, this TWENTY-NINTH

day of OCTOBER Anno Domini two thousand and NINETEEN

 

 

 

PARCEL NO.; 40-00-37842-30-5

HF
SEALED AND DELIVERED
IN THE PRESENCE OF
Been #. Non... Sheriff
SEAN P. KILKENNY
SEAL |

|_“ianinate which not applicable |

MONTCO

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 40 of 48
41/05/2019 04:45:08 PM DEED BK 6160 PG 01069 MONTCO

Writ No. 2016-19298

: Di d Pp ll M&T BANK
: eed = FO : pIDIO, JAMES & = (_ :

at, 2019 iE

 

 

 

 

 

 

; GREEN, MARLA J. 4
SEAN P. KILKENNY, SHERIFF : AIK/A GREEN, No, 2016-13238 ‘
i TO : {
4 : PREMISES: i
ig M&T Bank : 1500 SPRING MILL ROAD |
: : AKA 1211 MIRABEAU LN °
: LOWER MERION, PA 19035 “i
a a all
i
| |
|
I
| The NAME of the within-named Grantee is
M&T Bank i
7 One Fountain Plaza ;
: Buffalo NY 14203 \
On behalf of the Grantee |
‘ Commonwealth of Pennsylvania :
“ County of MONTGOMERY 58.
3 |
| On this, the TWENTY-NINTH day of OCTOBER 2019, before me f:
F |:
| the undersigned Officer, personally appeared SEAN P. KILKENNY f
"| Sheriff of the County of MONTGOMERY _ known to me (or satisfactory proven) to be the person Hs
. described in the foregoing instrument, and acknowledged that he execuied the same in the capacity therein _
i stated and for the purposes therein contained. :
‘| In Witness Whereaf, [ hereunto set my hand a i official seal. eo
. < / .
/ 2 (fe Te
: 7 Meg A hdettdan JECHA |
2 B ! Prothonotary b

 

 

PARCEL NO.: 40-00-37842-30-5

 
- Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 41 of 48

11/05/2019 04:45:08 PM

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DEED BK 6160 PG 01069.1
“ite pennsylvania 4830039105
CEPR Ee {Ex} MOD o4a.tg {Fi}
REV-183 REALTY TRANSFER TAX
LR: iV E
BREN eee STATEMENT OF VALUE

HARRISBURG, PA 17128-0603 COMPLETE EACH SECTION

MONTCO

RECORDER'S USE_ONLY

State Tax Paid: }
Page: | OLS

 

 

instrument Muaibes.

 

 

RANSFER DATA.

 

 

 

Book: Cel (r0
Dale Recorded: { - S

 

Date of Acceptance of Document

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

(0+ AGG
Grantor{s)Lessor(s} Telephone Number Grantee(s}/Lessee(s) Telephone Number
SHERIFF OF MONTGOMERY COUNTY (610) 278-3331 M&T BANK (215) 627-1322
Mailing Address Mailing Address
Sheriffs Office, PO Box 311 One Fountain Plaza,
Cily State | ZIP Code City State {| ZIP Code
Norristown PA | 19404 Buffalo NY_ | 14203
“SECTION II REAL ESTATE LOCATION Do
Street Address City, Township, Borough
4214 Mirabeau Lane a/k/a 1500 Sorina Mill Road Lower Merion — Township of Lower Merion
County School Distrie! Fax Parcel Number
Montaomery Lower Merion Area 40-00-37842-30-5

VALUATION DATA ; : |

Was transaction part of an assignment or relocation? CoO YES a@ NO
4, Actual Gash Consideration 2, Other Consideration 3. Total Consideration

=001.00 00,5 17. lb

 

270840089 5 11. (G + 0.00

4, County Assessed Value

2,434.500.00

x 2.03

 

5. Common Level Ratio Factor

6. Computed Value

 

4a. Amount of Exemption Claimed
$ 4.942,035.00

 

EXEMPTION DATA - Refer to instructions for exemption status.

= 4.942.035,00

_

 

 

ib. Percentage of Grantor's Inlerest in Real Estate

 

 

400 %

tc. Percentage of Grantor's interest Convayed

100 %

 

2, Check Appropriate Box Below for Exemption Claimed,

0)

000@ 0000

cea «

Name

Will or intestate succession.

Transfers to the commonwealth, the U.
{lf condemnation or in fiew of condemnation, attach copy of resolution.)

Transfer from mortgagor to a hoider of a morigage in default. (Altach copy of mortgage and nole/assignment.}
Corrective or confirmatory deed. (Atlach complete copy of the deed to be corected or canfirmed.)

Stalutory corporate consalidation, merger ar division. (Attach copy of articles.)
Other (Provide a detailed explanation of exemp'

 

(Name of Decedent)

Transfer lo a trust. (Attach complete copy of trust agreement and ail amendments.)
‘Transfer from @ trust. (Adlach complete copy of trust agreement and aii amendments.)
Transfer between priacipal and agenl/straw party. (Attach complete copy of agency/siraw party agreement.)

§. and instrumentalities by gift, dedication, condemnation ar in lieu of condemnation.

(Estale Fite Number}

tion claimed. If more space is needed altach additional sheets.)

 

KML. Law Group, F.U.

ORRESPONDENT INFORMATION - Alt inquiries may be directed to the following parson: |

Telephone Number
{215} 627-1322

 

Mailing Address

701 Market Street, Suite 5000 BNY independence Center

City
Philadelphia

 

State | ZIP Code

 

 

Under penalties of law, | dectare thal

Ki have examined this statement, including accompanying information, and to the best of my knowledge and belief, Jt fs true, correct and camplelz.

 

Oe C Responsible Party

 

PA |} 19106
Date
09/26/2019

 

LETE THIS FORM PROPERLY OR ATTACH REQUESTED DOCUMENTATION M.

Fpicune TO COMP oo

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OR A A

PAGE 14

AY RESULT IN THE RECORDER'S REFUSAL TO RECGRD THE DEED.

L8300145165 j

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 42 of 48

MONTGOMERY COUNTY, PENNSYLVANIA
{hereby certify that this is a true copy of the
Document as reflected i in the Public Record
Recorded on: // 8S — Ses F

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WITNESS MY HAND AND OFFICIAL SEAL THIS
DAY, Lk_or_ feb YEARSOAG

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© Recorder of Deeds

   

   

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 43 of 48

Certificate of Registration

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This Certificate issued under the seal of the Copyright

  
 

 

Title

 

Unit€d States Register of Copyrights and Director

Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below, The information on this certificate has
been made a part of the Copyright Office records.

. Registration Number.

TXu 2-167-482
Effective Date of Registration:
September 07, 2019 — ,
Registration Decision Date: -
November 20, 2019.

 

“Tithe of Work:

Completion/Publication

Year of Completion:

The Royal Reclamation Act of 5771

 

 

 

2011
Author
. Author: Queen naja
Author Created: text
Citizen of: not known
Domiciled in: United States
Year Born: 1980
* Author: King reginald i
Author Created: — text, photograph(s)
Domiciled in: United States
Year Born: 1949
Copvright Claimant _. _ _ _ .
Copyright Claimant: King reginald I

Rights and Permissions

Name:
Email:
Telephone:
_ Address:

1533 Orland Street, philadetphia, PA, 19126, United States

 

queen naja
queen.najal9@zgmail.com

(202)7 16-2448

8843 Greenbelt Road, Suite 130
greenbelt, MD 20770 United States

Page 1 of 2

 
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First JUDICIAL DISTRICT OF PENNSYLVANIA
COURT OF COMMGN PLEAS OF PHILADELPHIA COUNTY
TRIAL DIVISION—CIVIL

IN THE MATTER OF MARCH 2078:m,
PETITION FOR CHANGE OF
NAME OF
REGINALD CUPID NOBLE
COL a

NO.

 

 

DECREE FOR CHANGE OF NAME
AND NOW, this_ on (Fr day of Golan. 20d £~, on
hearing of the within Petition, and on motion of Petitioner, and on presentation of proaf
of publication of nolice as required by law together with proof that there are no
judgments or decrees of record or any other matter of like effect against the petitioner,

and it appearing that there is no legal objection to the granting of the prayer of the

 

petition,
IT IS HEREBY ORDERED and DECREED that the name of the Petitioner be

: pina 2 WH
and is hereby changed to reginald noble (Y HWA)

nec 3 2 201

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Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 45 of 48
FOREIGN CERTIFICATE

The Commonwealth of Pennsylvania
COUNTY OF PHILADELPHIA, Ss.......

I, Eric Feder, Director, Office of Judicial Records of the Court of Common Pleas of the County
of Philadelphia, DO CERTIFY that the foregoing is a true copy of the Order dated
September 25, 2019 and Docket Entries.

 

 

 

IN RE: REGINALD CUPID NOBLE , Plaintiff(s) and

 

 

, Defendant(s), and of
MARCH Term 2018 ,No.___ 2724 as

full, entire and complete as the same remains on file in the Court of Common Pleas, of the
County of Philadelphia aforesaid in the case above stated.

GE, Go?

Director, Office of Judicial Records

 

 

1, John W. Herron, Administrative Judge of the Court of Common Pleas Trial Division for the
County of Philadelphia, DO CERTIFY that the foregoing Record, Certification and Attestation
made by Eric Feder, Director, Office of Judicial Records of said Court, whose name is thereunto
subscribed, and the seal of the said Court affixed, are in due form and made by the proper

Yorn br denefcks

BJ
Administrative Judge, Cyial Reision

1, Evie Feder, Director, Office of Judicial Records of the Court of Common Pleas of the County
of Philadelphia, DO CERTIFY that the Honorable John W. Herron, by whom the foregoing
Certificate and Attestation were made and whose name is thereby subscribed, was at the time of
making thereof and still is, Administrative Judge of the Court of Common Pleas Trial Division of
the County of Philadelphia, duly commissioned and sworn; to all whose acts, as such full faith
and credit are and ought to be given as well in Courts of Judicature as elsewhere.

 

In Testimony Whereof, I have hereunto set my hand and affixed the seal of the said
Court, this 2gND day of _Noyember AD., 2019

ds

Director, Office of Judicial Records

aA a TO. VIET EY

 
Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 46 of 48
UNITED STATES DISTRICT COURT

oe FOR THE EASTERN DISTRICT OF PENNSYLVANIA QB Q 9 g

DESIGNATION FORM
(te be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropt iate calendar)

   

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Address of Plaintiff: . 5 32) O ELA wt Q /
Address of Defendant: oe CS CROSSE R IAT PARY WAY, G ET? Vibe ke WE il YORK f kh le Y

 

 

 

Place of Accident, Incident or Transaction: f BHO GAELPHIA
RELATED CASE, LF ANY:
Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Ves is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No bd
pending or within one year previously terminated action in this court’?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier ; Yes [| No S<|
numbered case pending or within one year previously terminated action of this court? -

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case Cis / (is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

 

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a Af Prob oy ty Po ue i sg haa ;

pate: UL / Alf 2 A eee! LA ULL Most sigh: : “f HY EA
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

ts

 

 

 

 

 

 

A, Federal Question Cases: Diversity Jurisdiction Cases:
Cl 1. Indemnity Contract, Marine Contract, and Ail Other Contracts LI 1. Insurance Contract and Other Contracts
LL] 2. FELA L] 2. Airplane Personal Injury
Ll] 3. Jones Act-Personal Injury CL] 3. Assault, Defamation
Li 4. Antitrust LE] 4. Marine Personal Injury
H 5. Patent [] 4. Motor Vehicle Personal Injury
6. Labor-Management Relations L] 6. Other Personal Injury (Please specifi):
L] 7. Civil Rights f] 7. Products Liability
[] 8. Habeas Corpus []} 8. Products Liability — Asbestos
Ed 9. Securities Act(s} Cases [} 9. All other Diversity Cases
L] 10. Social Security Review Cases (Please specify):
(11. Allother Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION

(The effect of this certification is to remove the case from eligibility far ar -bitration }

IL, pe e 4 it ete lel ag able €.. Ny H Yu JH , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c} (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.06 exclusive of interest and costs:

 

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[| Relief other than monetary damages is sought.

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ae ney-at-Law / Pro Se Plaji iF Attorney LD. # (if applicable)

DATE: vs /oi/ BODE

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“A

NOTE: A trial de nove will be a trial by jury only if there has been compliance with F.RCP. 38.

 

Civ, 609 (5/2078)

 

 

 
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¢ Ke IN THE UNITED STATES DISTRICT COURT
/ FOR THE EASTERN DISTRICT OF PENNSYLVANIA

&

CASE MANAGEMENT TRACK DESIGNATION FORM
twee nn GOA Data ye
KieGle, ESIAPE oe FA Registrar, CIVIL ACTION

Le ZEsqriage

¥v. 3 : .
Mi @HAeL b. Beaman d/o/a no, & 0 95
Maer BANK , ,
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

 

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas ‘Corpus -- Cases brought under 28 U.S.C, § 2241 through § 2255. ()

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. @<)

(d) Asbestos — Cases involving claims for personal mjury or property damage from
exposure to asbestos. ()

(ec) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

 

management cases.) oe)
(f) Standard Management — Cases that do not fall into any one of the other tracks. ( }
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po fot /a-o 26 teetnakd . pttbe ef Mis Hf
Date a Pro Se Plaintiff
BY) -5 SE-B 84-9 srael 949uila Ab mail Cora
Telephone FAX Number E-Mail Address -

(Civ. 660) 10/62

 
“8 Case 2:20-cv-00956-GEKP Document 2 Filed 02/21/20 Page 48 of 48
GOS ocean CIVIL COVER SHEET 2, 4) 956

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Fudicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

1. (a) PLAINTIFFS DEFENDANTS
NOBLE ESTATE OF Pa. Registrar 162889-1950 MICHAEL D. BERMAN d/b/a M & T BANK,
Employee's Securities Company
(b) County of Residence of First Listed Plaintiff 42101 Philadelphia County of Residence of First Listed Defendant INTERESTATE
(EXCEPT IN US. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE FHE LOCATION OF
THE TRACT OF LAND INVOLVED,

(Cc) Attomeys (Firm Name, Address, and Telephone Niwmber) ; Attomeys (ifKaown)
Lord reginatd noble yahweh as Attorney in Fact (Constituent) unknown

5209 Greene Street, no. 48324, Philadelphia Pa. 19144-9998

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION (Place an “Xin One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(or Diversity Cases Only} and One Bax for Defendant)
Ki U.S, Government 3 Federal Question PYF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State 4 1 O 1 Incorporated or Priacipal Place o4 m4
of Business In This State
0 2 U8, Goverment 04 Diversity Citizen of Another State 62 © 2 Incorporated and Principal Place os 5
Defendant {indicate Citizenship of Parties in Tem ID of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation O06 O86
Foreign Country
EV. NATURE OF SUIF (Phece an “x7 in One Box Oniy) Click here for: Nature of Suit Code Deseriptions,
==" TONTRACT =) cme ee PORTS oon ne Es RORFELTURE/PENALTY. [0 BANKRUPTCY] OTHER STATUTES
& 110 Insurance PERSONAL INJURY PERSONAL INJURY [C7 625 Drug Related Seizure OG 422 Appeal 28 USC 158 0) 375 False Claims Act
{7 £20 Marine G 310 Airpiane 1 365 Personal Enjury - of Property 22 USC 881 4C) 423 Withdrawal OG 376 Qui Tam 31 USC
& £30 Miller Act O 315 Aiplane Product Product Liability G 690 Other 28 USC 157 3723{a))
& £40 Negotiable Instrument Liability 1 367 Health Caref 0 400 State Reapportionment
& 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS =] 410 Antitrust
& Enforcement of Judgment Slander Personal Injury CG 820 Copyrights O 430 Banks and Banking
C1 15! Medicare Act G 330 Federal Employers’ Product Liability C7 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability 1 368 Asbestos Personal (1 835 Patent - Abbreviated 1 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | OX 470 Racketeer Influenced and
(Exciudes Veterans) 0 345 Marine Product Liability C1 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY [02 GABOR SOCIAL SECURITY =|) 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle O 370 Other Fraud 1 710 Fair Labor Standards O 861 BIA (13959) & 490 Cable/Sat TY
CO 160 Stockholders’ Suits G 355 Motor Vehicle O 37k Truth in Lending Act 0 862 Black Lung (923} 1 850 Securities/Commodities/
190 Other Contract Product Liabitity 1 380 Other Personal O 720 Labor/Management 0 863 DIWC/DIW W (405(2)) Exchange
CF 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSED Title XVI © 890 Other Statutory Actions
0 196 Franchise injury O 385 Property Damage C) 740 Railway Labor Act O 865 RSI (405(z}} G 891 Agricultural Acts
O) 362 Personal Injury - Product Liability O 751 Family and Medical CG 899 Environmental Matters
Medical Malpractice Leave Act G 895 Freedom of Information
[REAL PROPERTY 220000) CIVIL RIGHTS 2" [PRISONER PETITIONS —| G 790 Other Labor Litigation FEDERAL TAX: SULTS = Act
0 2390 Land Condemnation O 440 Other Civil Rights Habeas Corpus: OG 791 Employce Retirement OG 870 Taxes (1.8. Plaintiff G 896 Arbitration
0} 220 Foreclosure O 44! Voting G 463 Alien Detainee Income Security Act or Defendant) 1 899 Administrative Procedure
7 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate O 871 iRS—Thied Party ActReview or Appeal of
O 246 Torts to Land OG 443 Housing! Sentence 26 USC 7609 Agency Decision
OF 245 Fort Product Liabitity Accommodations (7 530 Generat 0 950 Constitutionality of
G 296 All Other Real Property O 445 Amer. w/Disabilities - | 535 Death Penalty VE MIMEEGRA TBON (eo: State Statutes
Employment Other: {J 462 Naturalization Application
CF 446 Amer. w/Disabilities - | 540 Mandamus & Other [4 465 Other Immigration
Other 1 550 Civil Rights Actions
0 448 Education O 555 Prison Condition
OG 560 Civil Detainee -
Conditions of
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
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Cite the U.S. Civil Statute under which you are filing (Do aor cite jurisdictional statutes unless diversity):

18 U.S.C.371, 11U.5.C.548, 18 Chapter 31, ucce3-604(1)(?}(3), uce2-511(1), 26 U.S.C. 7201
Brief description of cause:

False Claim Fraudulent Gonveyence, Breach of Contract

VI. CAUSE OF ACTION

 

 

 

 

VII. REQUESTED IN (1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: WYes No
VELL RELATED CASES) ; ;
IF ANY (See instructions): roDGR—~ / f DOCKET NUMBER _ _

 

DATE SIGNATURE OF RrFQRNEY SPREPORT,
02/21/2020 Se fe
FOR OFFICE USE ONLY ; oo

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
